     2:11-cv-02855-RMG             Date Filed 11/07/13     Entry Number 97       Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION
                                                                                201] NOV -1 A IQ: 38

John Woods,                                    )
                                               )
                Plaintiff,                     )         Civil Action No.2: 11 ~2855
                                               )
        vs.                                    )
                                               )
The Boeing Company,                            )         ORDER
                                               )
                Defendant.                     )
                                               )
                                               )

        This matter comes before the Court on Defendant's motion for an award of costs in the

amount of$IO,851.92 under Federal Rule of Civil Procedure 54(d)(I). (Dkt. No. 89). It is well

settled that a prevailing party is presumed to be entitled to the recovery of costs and that the

relative disparity in wealth of the parties, the good faith of the non~prevailing party and the nature

of the original claim do not change that presumption. Cherry v. Champion Int'l Corp., 186 F.3d

442,446 (4th Cir. 1999). The Court may, in its discretion, deny costs to a prevailing party where

there is "an element of injustice" in the award of costs, particularly where the losing party has

" an ma
     . b'l'                  Td
        1 lty to pay. . .. " 11.


        Plaintiff opposes the award of costs and makes a variety of arguments in support of this

position. These include contentions that the Defendant was not the prevailing party, the Plaintiff

attempted to mitigate his damages, the wealth of the Defendant, the lack of economic benefit to

Defendant from the outcome of the litigation and the alleged closeness of the legal issues in the

case. (Dkt. No. 92). The Court finds no merit in any of these arguments.



                                                   -1­
    2:11-cv-02855-RMG          Date Filed 11/07/13       Entry Number 97         Page 2 of 2




       Plaintiff further asserts that he does not have the ability to pay the costs, noting he does

not own his home, has a daughter with significant medical needs and has depleted all of his

retirement savings during his recent period of unemployment. (Dkt. 92 at 3). Plaintiff's claimed

economic condition has not been challenged by Defendant. This situation stands in stark contrast

to the factual background in Cherry, where the plaintiff in an unsuccessful Title VII action filed a

joint income tax return with an income exceeding $100,000 and had recently withdrawn $30,000

from a 401(k) plan to purchase a motorcycle and truck. 186 F.3d at 445.

       The Court finds that under the facts presented in this matter the presumption in favor of

the award of costs is overcome by the Plaintiff's lack of financial resources and inability to pay

an award of costs. See King v. Eastern Shore Water, LLC, No. 11-cv-1482, 2013 WL 4603316 at

*2 (D. Md. Aug. 27, 2013) (listing cases denying costs at least partly on the grounds that the

party was of modest means and unable to pay). Therefore, the Defendant's motion to award

costs (Dkt. No. 89) is DENIED.

       AND IT IS SO ORDERED.




                                                           C£~~(
                                                              United States District Court


November 7,2013
Charleston, South Carolina




                                                -2­
